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Amanda E. Miller, Esq. (Bar ID No. 017752011)
JACKSON LEWIS P.C.
200 Connell Drive, Suite 2000
Berkeley Heights, New Jersey 07922
(908) 795-5127
ATTORNEYS FOR DEFENDANTS

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

  ANN CARLETTA,
                                               Civil Action No. 2:20-cv-14304 (KSH) (CLW)
        Plaintiff,
                                                    AMENDED SCHEDULING ORDER
  v.

  BERTELSMANN, INC.; and RTL
  ADCONNECT, INC.,

        Defendants.


       This matter having been opened to the Court in connection with a case management

 conference on August 9, 2021, and the parties having appeared through counsel, and for good

 cause shown,

       It is hereby ordered:

                (1)   Factual discovery to be completed by January 28, 2022, absent good cause
                      shown;

                (2)   Depositions to be completed by January 28, 2022;

                (3)   Affirmative expert reports due on February 28, 2022;

                (4)   Rebuttal expert reports due April 14, 2022;

                (5)   Expert depositions to be completed by May 12, 2022;

                (6)   Dispositive motions to be served on a date TBD.

                (7)   All motions require prior approval of Magistrate Judge Waldor. Parties are
                      encouraged to raise substantive issues with the Court by letter, email, e-

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                  filing, or logistical issues by telephone to Magistrate Judge Waldor’s
                  chambers.

            (8)   A telephone status conference will be held on October 7, 2021 at 2:30 p.m.
                  (ECF No. 25).


SO ORDERED:



                                               s/ Cathy L. Waldor
                                               Hon. Cathy L. Waldor, U.S.M.J.

                                               Dated: September 29, 2021




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